      Case 16-24757-CMB                        Doc 195         Filed 09/30/22 Entered 09/30/22 12:15:16                        Desc Main
     Fill in this information to identify the case:           Document Page 1 of 4
     Debtor 1              PERRY J. ROWAN


     Debtor 2              ROSE M. ROWAN
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          16-24757CMB




Form 4100N
Notice of Final Cure Payment                                                                                                         10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 FIFTH THIRD BANK                                                                  6

 Last 4 digits of any number you use to identify the debtor's account                         8   1   3   0

 Property Address:                             240 KOVALCHECKS RD
                                               CARMICHAELS PA 15320




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $          0.00

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $          0.00

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $          0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $          0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $          0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $          0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $          0.00



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $40.00
         The next postpetition payment is due on                 7 / 1 / 2022
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     PERRY J. ROWAN                                                   Case number   (if known)   16-24757CMB
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    09/30/2022


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     PERRY J. ROWAN                                            Case number   (if known)   16-24757CMB
             Name




                                             Disbursement History

Date         Check #    Name                                 Posting Type                                            Amount
MORTGAGE REGULAR PAYMENT (Part 3)
07/26/2022 1240306      FIFTH THIRD BANK                     AMOUNTS DISBURSED TO CREDITOR                          2,220.91
08/24/2022 1243220      FIFTH THIRD BANK                     AMOUNTS DISBURSED TO CREDITOR                            259.09
                                                                                                                    2,480.00




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                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 4 of 4
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

PERRY J. ROWAN
ROSE M. ROWAN
240 KOVALCHECKS ROAD
CARMICHAELS, PA 15320

BRIAN C THOMPSON ESQ
THOMPSON LAW GROUP PC
125 WARRENDALE-BAYNE ROAD
WARRENDALE, PA 15086

FIFTH THIRD BANK
ATTN CONSUMER BKRPTCY PMT DIVISION**
1830 EAST PARIS SE MS#RSCB3E
GRAND RAPIDS, MI 49546

CHAPTER 13 BANKRUPTCY NOTICING
PO BOX 9013
ADDISON, TX 75001

BONIAL & ASSOCIATES PC
PO BOX 9013
ADDISON, TX 75001




9/30/22                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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